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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 UNITED STATES OF’ AMERICA                  :      Criminal No.    05-482-JLL-03
               —vs—
                                                         ORDER OF RELEASE
 ARISMA THEODORE,

         It is on this     TH
                           14
                                 day of JANUARY,      2015,   ORDERED
         That bail be fixed at          $ 0.00   and the defendant be released
 upon:

      (a./      Executing an unsecured appearance bond.
      ‘kt       Executing an appearance bond and depositing
        \                                                    in cash in
                the registry of the Court       of the bail fixed.
      \         Executing an appearance bond with approved
                the deposit of cash in the full amount
                                                            sureties, or
                                                        of the bail in
                lieu thereof.

       It is further ORDERED that, in addition
                                               to the above,                  the
 following conditions are imposed:

         1,     That the defendant not attempt to influence,
                                                             intimidate,
                or injure any juror or judicial officer;
                                                         not tamper with
                or retaliate against any witness, victim
                                                         or informant in
                this case.

         2,     That the defendant be released in the
                                                      custody of
                PROBATION for supervision during the period
                                                            of release.
         3. That the defendant be restricted in travel
                                                        to
            New Jersey(x) New York(X ) Other (x)
                                                  Specify Other:                    Tn-
 State area Unless otherwise approved by
                                          Probation Services.
         4.     Additional Conditions:

         (X)    Probation Supervision

      It is further ORDERED that the defendant
                                               be furnished with a
copy of this order and a Notice of the
                                        Penalties app1jcaJto
violation of conditions of release

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                                                  Jos,j. Linares,
                                                  Uni’fed States District Judge
I hereby certify that the defendant
                                    was furnished with a copy of
this order and Notice of Penalties




                                                  Deputy Clerk
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                     NOTICE OF PENALTIES APPLICABLE
               TO THE VIOLATION OF CONDITIONS OF RELEASE



       Title 18,   United States Code,    Section 3146      (c)   provides
 that a warrant for the arrest of a defendant
                                              will be issued
 immediately upon any violation of the conditions
                                                  of release.
 Conditions of release include those contained
                                               in the Appearance
 Bond the defendant may be required to
                                       execute.
       Title 18,   United States Code,    Section 3150,     provides that if
 the defendant willfully fails to appear as
                                            required he/she shall
 incur a forfeiture of any security given or
                                             pledged;
 and in addition:

       1,   If the release was in connection with a
                                                    charge of
            felony, or while the awaiting sentence or
                                                      pending
            appeal, he/she shall be fined not more that
                                                        $5,000.              or
            imprisoned not more than five years, or both.

       2,   If the charge was a misdemeanor, he/she
                                                    shall
            be fined not more than the maximum provided
            for such misdemeanor or imprisoned for not
            more than one year, or both.

       3.   If the above release relates to an appearance
                                                           of a
            material witness, the penalty for willfully
                                                        failing to
            appear is a fine of not more than $1,000.00
                                                        or
            imprisonment for not more than one year, or both.
